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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

    IN RE NATIONAL PRESCRIPTION                         MDL 2804

    OPIATE LITIGATION                                   Case No. 17-md-2804

    This document relates to:                           Hon. Dan Aaron Polster

    All Cases


    BRIEF OF PLAINTIFFS’ EXECUTIVE COMMITTEE CONCERNING SURVEY OF STATE NUISANCE
                                         LAW
          In its order issued on December 31, 2018, this Court directed the parties to submit

briefing “addressing the viability of statutory and/or common law claims for public

nuisance in each State and territory where any MDL plaintiff is located.” Doc. #1218.1 The

Plaintiffs’ Executive Committee (“PEC”) hereby submits this brief in response to the

direction of the Court.
                                      OVERVIEW AND SUMMARY
          In virtually every state, municipal governments may bring claims for public

nuisance, either at common law or pursuant to statute (or both), and may obtain equitable

relief, in the form of abatement and injunction, as well as damages. A substantial majority

of states follow the definition for a public nuisance set forth in Restatement Second of

Torts § 821B; most of the remaining states have applied similar definitions for public

nuisance, even if they have not expressly invoked the standards set forth in the

1
  Based on the most recent information available to the PEC, MDL plaintiffs are located in every state
except Delaware, Hawaii, and Vermont. The only U.S. territory in which an MDL Plaintiff has brought suit
is Puerto Rico. No case has yet been brought in the MDL on behalf of the District of Columbia. Although
the Court’s order does not require it, in the interest of completeness, this brief notes where appropriate how
the principles discussed herein apply in Delaware, Hawaii, and Vermont, and in the District of Columbia.
For jurisdictions in which at least one MDL plaintiff is located, discussion of nuisance law herein is
provided without regard to whether a nuisance claim has actually been asserted in any case in the MDL.
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Restatement. Just as this Court has found with respect to Ohio in its ruling on the motions

to dismiss in the Summit County case, Op. & Order, Doc. #1203, each of these Plaintiffs

may assert a claim for public nuisance under the prevailing law in their jurisdiction.

       The PEC does not construe the Court’s order to require the parties to address the

particulars of the factual allegations asserted in each case in the MDL. Rather, we

understand the Court to have asked the parties to address the question whether,

assuming adequate factual allegations, the law of the particular jurisdiction would allow

the Plaintiffs to proceed with a public nuisance action. We conclude that, in virtually

every case, they can.

       For similar reasons, the PEC does not construe the Court’s order to ask the parties

to address whether there is any affirmative defense that Defendants might successfully

assert to defeat a public nuisance claim, particularly given that most affirmative defenses

will turn on questions of fact that may vary from case to case. Nevertheless, guided by

this Court’s ruling in the Summit County case, Plaintiffs have chosen to address, briefly,

three potential affirmative defenses that some Defendants have alleged would bar claims

for public nuisance as a matter of law. Specifically, the PEC herein briefly addresses the

affirmative defenses asserted by Defendants related to the statewide concern doctrine,

the free public services/municipal cost recovery doctrines, and the economic loss
doctrine. We conclude that these affirmative defenses, as properly understood and

limited, would not act to bar Plaintiffs’ public nuisance claims in virtually any

jurisdiction.

       Finally, the PEC concludes this memorandum with a brief discussion of

jurisdictions in which rulings have already been handed down in lawsuits related to the

opioids crisis. Again, virtually all of this recent precedent upholds, and permits plaintiffs

to go forward with, claims for public nuisance. The two notable exceptions, trial court




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rulings in Connecticut and New Jersey,2 were not based on a rejection of public nuisance

as a viable cause of action. Rather, the Connecticut decision was based on an idiosyncratic

view of standing law, while the New Jersey decision concluded that, in this context, the

public nuisance cause of action had been subsumed by the state’s Products Liability Act.

The PEC believes both of these rulings to be erroneous; the Connecticut ruling has been

appealed and the New Jersey ruling, which was not a final judgment, remains subject to

later appellate review. In any event, the great weight of authority from across the country

strongly supports the viability of claims for public nuisance.
                                               DISCUSSION

I.       THE VIABILITY OF PUBLIC NUISANCE CLAIMS
         Section 821B of the Restatement (Second) of Torts sets forth the classic articulation

of the common law tort of public nuisance:
         (1) A public nuisance is an unreasonable interference with a right common
         to the general public.
         (2) Circumstances that may sustain a holding that an interference with a
         public right is unreasonable include the following:
                (a) Whether the conduct involves a significant interference with the
                public health, the public safety, the public peace, the public comfort
                or the public convenience, or
                (b) whether the conduct is proscribed by a statute, ordinance or
                administrative regulation, or
                (c) whether the conduct is of a continuing nature or has produced a
                permanent or long-lasting effect, and, as the actor knows or has
                reason to know, has a significant effect upon the public right.


2
  In Delaware, a nuisance claim brought by the state Attorney General was recently dismissed in the trial
court. See State ex rel. Jennings v. Purdue Pharma L.P., No. N18C-01-223 MMJ CCLD, 2019 WL 446382,
at *12-13 (Del. Super. Ct. Feb. 4, 2019). As noted above, no case pending in the MDL originated in, or
implicates the nuisance law of, Delaware. More significantly, the Delaware court was aware of, and
distinguished, this Court’s ruling denying Defendants’ motions to dismiss Summit County’s nuisance
claim, on the basis of the particularities of Delaware law. See id. at *12. The PEC believes that the Delaware
Purdue Pharma is idiosyncratic to Delaware and that, as a trial court ruling it is not, in any event,
authoritative.

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Restatement (Second) of Torts § 821B (1979). The comments to the Restatement provision

elaborate on this definition. Of particular relevance here, they provide: (1) that it is not

necessary “that the entire community be affected by a public nuisance, so long as the

nuisance will interfere with those who come in contact with it in the exercise of a public

right or it otherwise affects the interests of the community at large,” comm. g; (2) “Unlike

a private nuisance, a public nuisance does not necessarily involve interference with use

and enjoyment of land,” comm. h; and (3) a public nuisance may give rise to both “an

action for tort damages and an action for an injunction or abatement,” although the

standards for imposing liability may differ; in particular, a plaintiff seeking damages for

a public nuisance “must have suffered damage different in kind from that suffered by the

general public,” while “for an injunction harm need only be threatened and need not

actually have been sustained at all,” comm. i.

       As both the Court and Magistrate Judge Ruiz recognized in denying Defendants’

motions to dismiss Summit County’s public nuisance claim under Ohio law (which

follows the Restatement, see City of Cincinnati v. Beretta, 95 Ohio St. 3d 416, 768 N.E.2d

1136 (2002)), the conduct at issue in this MDL falls well within the bounds of this

Restatement definition. Plaintiffs have alleged that Defendants’ conduct significantly

interferes with public health, public safety, public peace, and public comfort; that at least
some of the conduct at issue is prescribed by statutes and regulations; and that

Defendants’ conduct is both continuing and has produced long-lasting, significant effects

upon these public rights. And, as discussed in Part IV, below, numerous other courts

have likewise relied on this Restatement definition in denying similar motions to dismiss

public nuisance claims in opioids litigation. There can therefore be no doubt, at least in

jurisdictions that follow Restatement § 821B, that claims for public nuisance are viable.
       A.     Jurisdictions that Follow Restatement § 821B
       A substantial majority of jurisdictions have made clear that they are guided by
Restatement § 821B in applying the law of public nuisance. Exhibit 1, attached to this

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brief, identifies decisions in thirty-eight of the jurisdictions with cases before this Court

in which the courts have invoked the language and/or comments to Restatement § 821B

and followed them in assessing public nuisance liability under the law in their state.

Specifically, courts in each of the following jurisdictions have indicated that their public

nuisance law is consistent with Restatement § 821B: Alabama, Alaska, Arizona,

California, Colorado, Connecticut, Florida, Georgia, Illinois, Indiana, Iowa, Kansas,

Kentucky, Louisiana, Maine, Maryland, Massachusetts, Michigan, Mississippi, Missouri,

Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York,

North Carolina, Ohio, Oregon, Pennsylvania, Rhode Island, Tennessee, Texas, Utah,

Virginia, West Virginia, and Wisconsin.3 See Exhibit 1 (citing cases).4 Thus, there can be

little question that, in each of these jurisdictions, public nuisance claims arising from the

opioid epidemic are viable.
        B.      Jurisdictions with Similar Definitions of Public Nuisance
        None of the remaining ten jurisdictions with cases before this Court have expressly

relied upon Restatement § 821B as an interpretative guide to their public nuisance law.

Nevertheless, six of these jurisdictions—Minnesota, North Dakota, Oklahoma, South




3
 Courts in the District of Columbia and in Vermont have also cited § 821B as describing the
contours of nuisance law. See B&W Mgmt., Inc. v. Tasea Inv. Co., 451 A.2d 879, 881-82 (D.C. 1982);
State v. Howe Cleaners, Inc., 9 A.3d 276, 297 (Vt. 2010).
4 In most of these states, the courts were analyzing the availability of nuisance at common law. In

the others, courts employed Restatement § 821B in construing statutory provisions that had
codified their common law. See Exhibit 2 for a list of such statutes.
In a handful of these states, the only courts to have cited Restatement § 821B are federal courts.
In the absence of clear guidance from the state courts, this Court may be guided by precedent
from a federal court in that state. See In re Fair Fin. Co., 834 F.3d 651, 671 (6th Cir. 2016) (quoting
Combs v. Int’l Ins. Co., 354 F.3d 568, 577 (6th Cir. 2004) (where state appellate courts have not “directly
addressed the issue before us . . . we must ‘consider all relevant data, including jurisprudence from other
jurisdictions.’”).


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Dakota, Washington, and Puerto Rico—have codified statutory causes of action for public

nuisance that largely parallel the Restatement approach.5

        In Minnesota, Minn. Stat. § 609.74(1) defines a public nuisance. It provides, in

relevant part:
        Whoever by an act or failure to perform a legal duty intentionally does any
        of the following is guilty of maintaining a public nuisance, which is a
        misdemeanor: (1) maintains or permits a condition which unreasonably
        annoys, injures or endangers the safety, health, morals, comfort, or repose
        of any considerable number of members of the public. . . .
Although this provision treats public nuisance as a criminal offense, Minnesota courts
have consistently utilized it when faced with civil public nuisance claims. See, e.g., City of

W. St. Paul v. Krengel, 748 N.W.2d 333, 341 (Minn. Ct. App. 2008). The similarity between

the language of Minn. Stat. § 609.74(1) and the Restatement’s reference to “a significant

interference with the public health, the public safety, the public peace, the public comfort

or the public convenience” should be obvious; and Minnesota courts have upheld the

viability of public nuisance actions far removed from concerns regarding the use and

enjoyment of private property, such as the withholding of names of suspected pedophile

priests by the local Archdiocese. See Doe 1 v. Archdiocese of St. Paul, No. 62-CV-13-4075,

2013 WL 7218911, at *4 (Minn. Dist. Ct. Dec. 10, 2013) (“The specter of unidentified

pedophiles living at undisclosed locations in the community could create a cognizable

public nuisance claim”); see also Doe 37 & 38 v. Diocese of New Ulm, No. 08-CV-14-863, slip

op. (Minn. Dist. Ct. Mar. 27, 2015) (allegations “of exposing children of the communities

served by the Diocese to an increased danger of molestation which affects people’s



5
  While the North Dakota statute expressly replaces and abrogates the common law claim for public
nuisance, Rassier v. Houim, 488 N.W.2d 635, 636 (N.D. 1992), the Oklahoma statute does not, see Nichols
v. Mid-Continent Pipe Line Co., 933 P.2d 272, 276 (Okla. 1996), and Puerto Rico is a civil law jurisdiction
with no common law tradition. The continuing status of common law public nuisance in the other three
jurisdictions is unclear. The public nuisance jurisprudence largely involves analysis of the statutory causes
of action.

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enjoyment of life and endangers the safety, health, and morals of the public . . . are

sufficient” to plead a public nuisance).

       In North Dakota, nuisance is defined by N.D. Cent. Code Ann. § 42-01-01, which

provides, in relevant part:
       A nuisance consists in unlawfully doing an act or omitting to perform a
       duty, which act or omission:
       1. Annoys, injures, or endangers the comfort, repose, health, or safety of
       others;
       2. Offends decency; . . . or
       4. In any way renders other persons insecure in life . . . .
N.D. Cent. Code Ann. § 42-01-06, in turn, defines a “public nuisance” as “one which at

the same time affects an entire community or neighborhood or any considerable number

of persons, although the extent of the annoyance or damage inflicted upon the

individuals may be unequal.” While case law interpreting these provisions is limited, the

similarity to the language of both the Minnesota statute and Restatement § 821B is

obvious and should lead to a similar construction.

       Both Oklahoma and South Dakota’s statutory codifications of the law of public

nuisance are virtually verbatim of that in North Dakota, Okla. Stat. tit. 50, §§ 1, 2; S.D.

Codified Laws §§ 21-10-1 and 21-10-3, and should be interpreted in the same manner.

       Washington’s nuisance statute is somewhat more general on its face, defining an

actionable nuisance as “whatever is injurious to health or indecent or offensive to the

senses,” Wash. Rev. Code § 7.48.010, and a public nuisance as “one which affects equally

the entire community or neighborhood, although the extent of the damage is unequal.”

Wash. Rev. Code § 7.48.130. Its pattern jury instructions, however, track identically with

the North and South Dakota and Oklahoma statutes, see Wash. Pattern Jury Instr. Civ.

380.05, and should be interpreted in like manner. See State v. Purdue Pharma L.P., No. 17-

2-25505-0 SEA, slip op. at 3 (King Cty. Super. Ct. May 14, 2018) (denying motion to
dismiss public nuisance claim, finding “that the statute is quite clear that it applies to

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interference with life or property, and that interference with real property is not

required”); but see City of Everett v. Purdue Pharma L.P., Case No. C17-209RSM, 2017 WL

4236062, at *9 (W.D. Wash. Sept. 25, 2017) (dismissing, with leave to amend, public

nuisance claim for failure to allege a connection to property).

         Finally, in this group, Puerto Rico has enacted a largely similar nuisance statute.6

P.R. Laws Ann. tit. 32, § 2761 provides, in relevant part:
         Anything which is injurious to health, indecent, or offensive to the
         senses, . . . so as to interfere with the comfortable enjoyment of life or
         property, or that is a nuisance to the well being of a neighborhood, or
         to a large number of persons . . . constitute a nuisance and the subject
         of an action.
Puerto Rico courts read an “unreasonableness” requirement into the statute. Arcelay v.

Sánchez, 77 P.R. Dec. 824, (1955). Thus, as in the other jurisdictions in this category,

conduct that is unreasonably “injurious to health . . . so as to interfere with the

comfortable enjoyment of life . . . or that is a nuisance . . . to a large number of persons”

constitutes a nuisance. Defendants’ alleged conduct in the marketing and distribution of

opioids falls well within this statutory definition. See Gobierno de Puerto Rico v. Cardinal

Health, Inc., No. SJ2018CV03958, slip op. at 7 (Super. Ct. of Bayamon Dec. 10, 2018)

(denying motion to dismiss nuisance claim in opioids suit).
         C.     Jurisdictions Adopting Other Approaches
         The four remaining jurisdictions—Arkansas, Idaho, South Carolina, and

Wyoming—have only limited case law discussing public nuisance, and none in contexts

at all similar to the present litigation. We briefly summarize the state of the law in each

state.



6
 The statute does not on its face distinguish between public and private nuisances. P.R. Laws Ann. tit. 32,
§ 2761. Puerto Rico, as a civil law jurisdiction, does not recognize public nuisances not based on statute.
People v. Escambrón Beach Club, Inc., 63 P.R. Dec. 761 (1944).



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          Arkansas recognizes the common law cause of action for public nuisance. The

Arkansas Supreme Court has defined a “common or public nuisance” broadly as:
          that which affects the people and is a violation of a public right, either by a
          direct encroachment upon public property or by doing some act which tends
          to a common injury, or by the omitting of that which it is the duty of a person
          to do. Public nuisances are founded upon wrongs that arise from the
          unreasonable, unwarrantable, or unlawful use of property, or from improper,
          indecent, or unlawful conduct, working an obstruction or injury to the public and
          producing material annoyance, inconvenience, and discomfort founded
          upon a wrong.
Incr. Town of Lonoke v. Chicago, R.I. & P.R. Co., 92 Ark. 546, 123 S.W. 395, 398 (1909)
(internal quot. marks and cit. om.; emphasis added); see also Ozark Poultry Prod., Inc. v.

Garman, 251 Ark. 389, 390–91, 472 S.W.2d 714, 715–16 (1971) (“[P]ublic nuisance involves

a violation of a public right held in common by the community as a whole”). This

definition is clearly broad enough to encompass conduct not involving misuse of real

property, such as the misconduct alleged here. The Eighth Circuit Court of Appeals did

reject a public nuisance cause of action under Arkansas law against the manufacturers of

drugs containing ephedrine or pseudoephedrine for selling their products through legal

channels, which resulted in the use of those products in the illegal manufacture of

methamphetamines, Ashley Cty. v. Pfizer, Inc., 552 F.3d 659 (8th Cir. 2009), but that ruling

was based on a determination of no proximate cause as a matter of law, id. at 671, a

conclusion this Court has already rejected in the opioids litigation. R. & R., Doc #: 1025 at
81-82.7

          Idaho defines nuisance by statute as “anything which is injurious to health or morals,

or is indecent, or offensive to the senses, or an obstruction to the free use of property, so


7
  The district court in the pseudoephedrine litigation had rejected the public nuisance claim on the purported
ground that Arkansas limited nuisance claims to misconduct by landowners, citing two state court cases
involving private nuisances. Indep. Cty. v. Pfizer, Inc., 534 F. Supp. 2d 882, 890 (E.D. Ark. 2008) (citing
Milligan v. Gen. Oil Co., 738 S.W.2d 404 (Ark. 1987) (citing Ark. Rel. Guidance Fdn. v. Needler, 477
S.W.2d 821 (Ark. 1972)). The Eighth Circuit did not address this conclusion, which is flatly inconsistent
with the Arkansas Supreme Court’s definition of “common or public nuisance” in Town of Lonoke.

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as to interfere with the comfortable enjoyment of life or property, or unlawfully obstructs the

free passage or use, in the customary manner, of any navigable lake, or river, stream,

canal, or basin, or any public park, square, street, or highway.” Idaho Code § 52–101

(emphasis added). A nuisance is a public nuisance when it “affects at the same time an

entire community or neighborhood, or any considerable number of persons, although the

extent of the annoyance or damage inflicted upon individuals may be unequal.” Idaho

Code § 52-102. There is little, if any, case law interpreting this statute outside of the

context of property-based nuisances, but the language is on its face clearly broad enough

to encompass the public nuisances alleged by plaintiffs herein.

        The South Carolina Supreme Court has declared that “[a] public nuisance exists

wherever acts or conditions are subversive of public order, decency, or morals, or

constitute an obstruction of public rights.” State v. Turner, 18 S.E.2d 372, 375 (S.C. 1942)

(quoting 20 R.C.L. (Nuisances), § 7, p. 384). In the same opinion, the Court also observed

that whatever “affects the health of the community . . . is generally, at common law, a

public nuisance.” Id. (quoting Clark’s Criminal Law, 2d ed., Hornbook Series, § 115, p.

346). Here, too, this judicial definition is unquestionably broad enough to reach the

conduct of the Defendants before this Court.

        Wyoming recognizes a common law cause of action for public nuisance, but has
not defined its parameters. Knight v. City of Riverton, 259 P.2d 748 (Wyo. 1953). For the

same reasons that public nuisance actions against manufacturers and distributors of

prescription opioids are viable in other jurisdictions, so too should they be in Wyoming.8



8 As noted, there are at present no cases in the MDL from Hawaii. That state, too, has little jurisprudence

articulating the scope of its public nuisance doctrine. In Littleton v. State, 656 P.2d 1336 (Haw. 1982), the
Supreme Court of Hawaii defined nuisance to mean “that which unlawfully annoys or does damage to
another, anything that works hurt, inconvenience, or damage, . . . and anything wrongfully done or permitted
which injures or annoys another in the enjoyment of his legal rights.” Id. at 1344 (quoting 58 Am. Jur.2d
Nuisances § 1 at 555 (1971)). This definition is also capacious enough to include the misconduct at issue
here.

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         D.      Jurisdictions Recognizing Additional Statutory Nuisance Causes of
                 Action
         Even in jurisdictions recognizing common law claims for public nuisance, there

may also be statutory bases for public nuisance claims. While some nuisance statutes are

specific to particular conduct or circumstances far removed from the issues before this

Court, many others may well apply and give rise to statutory causes of action. These

statutory causes of action tend to fall into two categories: first, statutes that broadly define

and prohibit public nuisances and, second, narrowly tailored nuisance statutes that

would appear to apply to the conduct at issue in this litigation, such as Ohio Rev. Code
§ 4729.35 (concerning violation of laws controlling the distribution of a drug of abuse),

which this Court has already upheld against a motion to dismiss.

         Rather than belabor the Court with a lengthy discussion of each of these specific

public nuisance statutes, some of which were discussed in the foregoing sections, the PEC

simply includes, as Exhibit 2, a chart listing both such general and specific statutory

provisions that plaintiffs contend should give rise to causes of action in this litigation.9

II.      REMEDIES AVAILABLE
         Traditionally, at common law, both an action for damages and an equitable action

for abatement and/or injunction were available to remedy a public nuisance, though the

requirements for legal and equitable relief might differ. See Restatement § 821B, comm. i.
Damage awards are “retroactive, applying to past conduct,” while equitable relief seeks

to prevent or abate future harm from the nuisance; because of this distinction, an award

of damages required that a plaintiff incur significant harm from the nuisance, while “for

an injunction harm need only be threatened and need not actually have been sustained

at all.” Id.


9
  There are numerous state statutory provisions concerning public nuisances and the PEC does not contend
that the list included in Exhibit 2 is comprehensive. For this reason, the absence of any state nuisance statute
from that list should not be understood by the Court as a concession by the PEC that the statute does not
give rise to a cause of action that may be applicable to Defendants’ conduct here.

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        In many jurisdictions, the availability of both legal and equitable relief has been

made explicit either by statute or by case law. But, even in jurisdictions where there is no

express statute or case holding, the availability of damages, abatement, and injunctive

relief should be presumed, absent an express statement to the contrary.

        In Exhibit 3, Plaintiffs identify jurisdictions in which the availability of both legal

and equitable remedies has been expressly stated. The PEC knows of no jurisdiction in

which either form of relief has been categorically rejected for public nuisance claims. 10

        In many instances, public nuisance claims for damages may also be brought by

private parties. Restatement (Second) of Torts, § 821C, “Who Can Recover for Public

Nuisance” (1979), explains that private parties seeking to recover damages for public

nuisance “must have suffered harm of a kind different from that suffered by other

members of the public exercising the right common to the general public that was the

subject of interference.”        Numerous states (over thirty) have adopted or cited this

provision with approval. Other states reach the same result in their common law without

reference to the Restatement. See, e.g., Strickland v. Lambert, 109 So.2d 664, 665 (Ala. 1959);

Ozark Poultry Prods., Inc. v. Garman, 472 S.W.2d 714, 716 (Ark. 1971). Still others have

enacted statutes that provide private plaintiffs the right to pursue public nuisance claims

if they can prove a “special injury.” See, e.g., Cal. Civil Code § 3493; Ga. Code Ann. § 41-
1-3. Whatever the precise formulation and source of law – whether through the adoption

of the Restatement § 821C, application of common law principles, or by statute – every

state provides that a private party may sue under tort for public nuisance upon proof of

a special, different-in-kind, injury from that incurred by the general public.




10
  Certain statutory provisions, however, do limit the remedies available for particular forms of nuisance.
See, e.g., Ohio Rev. Code § 4729.35 (providing for only injunctive relief for statutory public nuisance based
on violation of laws concerning distribution of drugs of abuse).


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III.    POTENTIAL DEFENSES
        Defendants will no doubt contend that various affirmative defenses bar plaintiffs

in numerous jurisdictions from pursuing public nuisance claims.11 Plaintiffs cannot fully

anticipate and respond to every possible affirmative defense they might assert in each

and every jurisdiction, nor do we understand this Court’s order to have asked us to do

so. Nevertheless, based on the motions to dismiss that were previously filed in the Summit

County case, we anticipate that Defendants may assert at least three affirmative defenses

as a basis for barring public nuisance causes of action in a large number of jurisdictions:

the statewide concern doctrine, the municipal cost recovery/free public services doctrine,

and the economic loss doctrine. The PEC therefore anticipatorily responds.

        None of these three doctrines should provide a basis for dismissing public

nuisance causes of action in the vast majority of jurisdictions. Black letter principles

underlying each of these three doctrines are largely inapplicable to public nuisance

claims. Moreover, limitations placed on each doctrine in the jurisprudence of particular

jurisdictions, summarized in the charts accompanying this brief, conclusively establish

that these doctrines are inapplicable to public nuisance claims in most states.
        A.      Statewide Concern Doctrine
        In their motions to dismiss the Summit County case, Defendants asserted that the

“statewide concern” doctrine barred Plaintiffs’ claims, including nuisance. They
described the doctrine as a “fundamental principle” that “a municipality may not, in the

regulation of local matters, infringe on matters of statewide concern.” See R. & R., Doc #:

1025 at 98. In rejecting this argument under Ohio law, Magistrate Judge Ruiz recognized

that the doctrine traditionally acts as a limitation only on a municipal government’s

regulatory authority, not its ability to vindicate its rights through litigation. Id. Moreover,


11
   Defendants’ capacity to dream up potential affirmative defenses is virtually unlimited, as demonstrated
by their collective assertion of well over 800 affirmative defenses (covering more than 150 distinct subjects)
in their answers to the CT1 amended complaints.

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especially in light of the express statutory authority conferred on municipalities by the

legislature, including the police power to “protect the public health, safety, or morals, or

the general welfare of the public,” the Magistrate Judge declined to rule that “statewide

concern doctrine bars locally-originated municipal or county lawsuits seeking to remedy

alleged injuries within their borders.” Id. at 100.12

        In the majority of the jurisdictions with cases before this Court, state statutes

expressly authorize municipal governments to bring actions to abate public nuisances

within their boundaries. This express state authorization necessarily negates any

argument that the statewide concern doctrine bars plaintiffs’ nuisance actions. In other

jurisdictions, case law has applied the doctrine solely as a constraint on municipal

legislative power. Exhibit 4 identifies many of those jurisdictions in which one or the

other of these bases precludes a statewide concern affirmative defense to a public

nuisance action.13 Taken together, authority in a substantial majority of the jurisdictions

with cases before this Court clearly rejects this affirmative defense.
        B.      Municipal Cost Recovery/Free Public Services Doctrines
        In the Summit County motions to dismiss, Defendants also argued that the

municipal cost recovery doctrine (also sometimes referred to as the free public services

doctrine) barred Plaintiffs’ claims. That doctrine generally provides that “absent specific

statutory authorization or damage to government-owned property, a county cannot
recover the costs of carrying out public services from a tortfeasor whose conduct caused

the need for the services.” R. & R., Doc #: 1025 at 17 (quoting 32 A.L.R. 6th 261 (2008)).

Magistrate Judge Ruiz properly rejected application of the doctrine for multiple reasons.

First, following precedent from Ohio and elsewhere, he held that the doctrine did not

12
   Defendants did not object to the Magistrate Judge’s ruling concerning the statewide concern doctrine and
it was therefore adopted by the Court. See Op. & Order, Doc #: 1203 at 2.
13 Once again, the PEC does not assert that the list of jurisdictions in Exhibit 4 is comprehensive. In

particular, Plaintiffs did not attempt to capture every state statute authorizing public entities to bring
nuisance actions.

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apply to shield from liability “chronic wrongdoers engaged in a pattern of conduct that

creates great public expense.” Id. at 19. Second, as even the case that first articulated the

doctrine, City of Flagstaff v. Atchison, Topeka & Santa Fe Ry. Co., 719 F.2d 322 (9th Cir. 1983),

recognized, the municipal cost recovery doctrine does not apply to nuisance abatement

actions: “recovery by a governmental entity is allowed ‘where the acts of a private party

create a public nuisance which the government seeks to abate.’” Id. at 20 (quoting

Flagstaff, 719 F.2d at 324).

       At least a dozen jurisdictions have expressly rejected the application of the

municipal cost recovery doctrine to cases such as those before this Court for either one or

both of the reasons articulated by Magistrate Judge Ruiz. Other courts have simply held

that the doctrine is not recognized in their jurisdiction. We have compiled a list of these

rulings in Exhibit 5 hereto.
       C.      Economic Loss Doctrine
       Finally, in the Summit County motions, Defendants contended that, because

plaintiffs only sought recovery for economic losses, their tort claims were barred by the

economic loss doctrine. This Court had little difficulty rejecting the argument,

recognizing that the doctrine was far more narrow than Defendants suggested:
       The economic loss rule recognizes that the risk of consequential economic
       loss is something that the parties can allocate by agreement when they enter
       into a contract. This allocation of risk is not possible where, as here, the
       harm alleged is caused by involuntary interactions between a tortfeasor and
       a plaintiff. Thus, courts have noted that in cases involving only economic
       loss, the rule “will bar the tort claim if the duty arose only by contract.”
       Campbell v. Krupp, 961 N.E.2d 205, 211 (Ohio Ct. App. 2011). By contrast,
       “the economic loss rule does not apply—and the plaintiff who suffered only
       economic damages can proceed in tort—if the defendant breached a duty
       that did not arise solely from a contract.” Id.; see also Corporex, 835 N.E.2d.
       at 705 (“When a duty in tort exists, a party may recover in tort. When a duty
       is premised entirely upon the terms of a contract, a party may recover based
       upon breach of contract.”); Ineos USA LLC v. Furmanite Am., Inc., 2014 WL
       5803042, at *6 (Ohio Ct. App. Nov. 10, 2014) (“[W]here a tort claim alleges
       that a duty was breached independent of the contract, the economic loss
       rule does not apply.”).

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Op. & Order, Doc #: 1203 at 35 (quoting R. & R., Doc #: 1025 at 84).

        Like Ohio, numerous other jurisdictions have similarly expressly held that the

reach of the economic loss doctrine is narrowly circumscribed, limiting it only to

particular tort causes of action or to tort claims between contracting parties. The PEC

collects these rulings, from twenty-five jurisdictions, in Exhibit 6. Because the public

nuisance claims in this MDL all arise from Defendants’ alleged breaches of legal duties

that do not arise from, and exist independent of, any contractual relationship, they are

not barred by the economic loss doctrine.

IV.     PRIOR RULINGS
        A.       Jurisdictions Where Opioid Nuisance Claims Have Been Upheld
        In addition to this MDL, there are numerous proceedings in state courts across the

country involving similar claims against the manufacturers and distributors of opioids.

In a significant number of these cases, motions to dismiss have been considered and

decided. In virtually every one of these cases, motions to dismiss public nuisance claims

have been denied. This includes rulings upholding the viability of public nuisance claims

in Alaska, Kentucky, New Hampshire, New York, Ohio, Puerto Rico, Washington,14 and

West Virginia.

        We attach, as Exhibit 7 hereto, a chart listing each of these rulings of which we are

aware. While some of these rulings are brief minute orders, others contain more

substantive analysis. We here briefly present the reasoning from those more substantive

rulings:



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   Although a Washington state court judge upheld the State’s nuisance claim arising from the opioid
epidemic last year, a prior ruling from a federal court in Washington dismissed a similar claim brought by
the City of Everett. See discussion, supra, p. 8. The PEC contends that the reasoning in the state court
decision is both more persuasive and more predictive of how the Washington Supreme Court would rule
on this question, both because it is a later decision and because it is a decision from a state court. See In re
Fair Fin. Co., 834 F.3d 651, 671 (6th Cir. 2016) (in the absence of controlling authority from a state’s
highest court, federal court must predict how that court would rule if presented with the issue).

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        In Alaska, the trial court denied defendants’ motion to dismiss the public nuisance

claim in State v. Purdue Pharma L.P., No. 3AN-17-09966CI, 2018 WL 4468439 (Alaska

Super. Ct. July 12, 2018). The court reasoned:
        The Alaska Supreme Court has indicated its agreement with federal
        common law defining a public nuisance as an unreasonable interference
        with a right common to the general public, such as a significant interference
        with the public health, the public safety, the public peace, the public
        comfort or the public convenience. The State alleges Purdue's conduct, as
        described in the complaint, has “been a substantial factor” in creating a
        public health crisis and state of emergency in Alaska. . . . The court finds
        the facts as alleged could reasonably be construed as demonstrating a
        significant interference with the public health, the public safety, the public
        peace, the public comfort or the public convenience and therefore an
        interference with a right common to the general public.
        The State has alleged facts sufficient to state a claim for public nuisance.
Id. at *4 (citations omitted).

        In Kentucky, the Circuit Court rejected Endo’s challenge to the Attorney General’s

public nuisance claim in Commonwealth v. Endo Health Solutions Inc., No. 17-CI-1147, 2018

WL 3635765 (Ky. Cir. Ct. July 10, 2018). As the Court held:
        the Commonwealth has sufficiently pled its public nuisance claim. The
        Kentucky Supreme Court adopted the Restatement Second of Torts'
        definition of public nuisance. The opioid crisis in Kentucky has caused a
        public health crisis and crime crisis throughout the Commonwealth. The
        Commonwealth's pleadings have alleged a claim that Defendants have
        interfered with public health, Defendants have violated a Kentucky statute,
        and Defendants misrepresented the effects of its products to physicians in
        the Commonwealth. The Court holds that the Attorney General has clearly
        pled that Defendants' conduct allegedly violates a public right in the state
        and may proceed with the public nuisance claim.
Id. at *6.

        In State v. Purdue Pharma Inc., No. 217-2017-CV-00402, 2018 WL 4566129 (N.H.

Super. Ct. Sep. 18, 2018), the New Hampshire Superior Court rejected Purdue’s argument

that state law limited public nuisance to claims involving real property and upheld the
State’s public nuisance claim:


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       In Robie v. Lillis, 112 N.H. 492, 495 (1972), the New Hampshire Supreme
       Court explained that “[a] public nuisance … is ‘an unreasonable
       interference with a right common to the general public”’ and
       “is behavior which unreasonably interferes with the health, safety, peace,
       comfort or convenience of the general community.” (Quoting Restatement
       (Second) of Torts § 821 B(1)) (emphasis added). The use of “behavior” in
       this context suggests Purdue's position, i.e. that the origin of a public
       nuisance must arise from the use of real property, is a too narrow reading
       of the law. Indeed, numerous other jurisdictions that, like the New
       Hampshire Supreme Court, look to the Restatement (Second) of Torts to
       guide their analysis of public nuisance claims have expressly concluded
       that “[a]n action for public nuisance may lie even though neither the
       plaintiff nor the defendant acts in the exercise of private property rights.”
Id. at *13 (other citations omitted).
       In New York, a state trial court denied the manufacturer defendants’ motion to

dismiss public nuisance claims in In re Opioid Litigation, No. 400000/2017, 2018 WL

3115102 (N.Y. Sup. Ct. June 18, 2018). The court expressly held that plaintiffs had

adequately pled a substantial interference with a public right:
       A public or “common” nuisance is an offense against the State and is subject
       to abatement or prosecution on application of the proper governmental
       agency. It consists of conduct or omissions which offend, interfere with, or
       cause damage to the public in the exercise of rights common to all, in a
       manner such as to offend public morals, interfere with use by the public of
       a public place, or endanger or injure the property, health, safety or comfort
       of a considerable number of persons. . . . As for the manufacturer
       defendants' claim that the plaintiffs have failed to plead substantial
       interference with a public right, it suffices to note the defendants' failure to
       establish why public health is not a right common to the general public, nor
       why such continuing, deceptive conduct as alleged would not amount to
       interference; it can scarcely be disputed, moreover, that the conduct at the
       heart of this litigation, alleged to have created or contributed to a crisis of
       epidemic proportions, has affected “a considerable number of persons.”
Id. at *21-22.

       In the earliest of these opioids rulings, the Circuit Court of West Virginia denied

AmerisourceBergen Drug Corporation’s motion to dismiss a nuisance claim brought by

the State. State ex rel. Morrisey v. AmerisourceBergen Drug Co., No. 12-C-141, 2014 WL
12814021 (W.Va. Cir. Ct. Dec. 12, 2014). The West Virginia court concluded:

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        the Amended Complaint's allegations fit squarely within the definition of a
        public nuisance under West Virginia law. The State alleges Defendants
        “failed to do something,” that is, they failed to provide effective controls
        against the diversion of controlled substances and failed to design and
        operate a system that discloses suspicious orders of controlled substances,
        failed to live up to industry standards – each one a failure that “injuriously
        affects the safety, health, or morals of the public, or works some substantial
        annoyance, inconvenience, or injury to the public.” . . . The Court concludes
        the State's public nuisance claim sufficiently alleges the safety and health
        and morals of the people of West Virginia has been compromised due to
        Defendants' alleged wrongful influx of addictive, controlled substances
        into West Virginia, thereby causing substantial injury to West Virginia
        citizens and taxpayers.


Id., at *9-10.

        Finally, this Court has already held that Summit County and Akron have

adequately pled a viable public nuisance claim under Ohio law. The state Court of

Common Pleas agreed with this conclusion in a case brought by the Ohio Attorney

General:
        This Court finds that Cincinnati vs Beretta, 95 Ohio St. 3d 416, is not
        substantially distinguishable and applies to the case at bar. In Beretta, supra,
        the Ohio Supreme Court adopted a broader definition of public nuisance.
        The court determined that the restatement of the law of torts (2nd) sets forth
        a broad definition of public nuisance allowing an action to be maintained
        “for injuries caused by a product if the facts establish that the design,
        manufacturing, marketing, or sale of the product unnecessarily interferes
        with a right common to the general public.” Under the broad definition of
        public nuisance and the liberal pleading rules of the state of Ohio, this Court
        finds that the Plaintiff has adequately pled public nuisance under Ohio
        common law and the Ohio Product Liability Act.
State, ex rel. Dewine v. Purdue Pharma L.P., No. 17 CI 261, 2018 WL 4080052, at *4 (Ohio

C.P. Aug. 22, 2018).
        B.       Jurisdictions Where Opioid Nuisance Claims Have Been Dismissed
        By contrast, the PEC is aware of only two decisions from jurisdictions –
Connecticut and New Jersey – with cases before this Court in which a public nuisance


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claim was dismissed by a state trial court; both are grounded in the particularities of state

law and neither is authoritative concerning that law in any event.15

       In Connecticut, the trial judge dismissed all the claims brought by Connecticut

municipalities arising from the opioid epidemic, ruling that, under state law, the

municipal plaintiffs lacked standing because their injuries were too “remote.” See City of

New Haven v. Purdue Pharma L.P., No. X07 HHD CV 176086134 S, 2019 WL 423990 (Conn.

Super. Ct. Jan. 8, 2019). The ruling contains no discussion of the Connecticut law of public

nuisance and was not specific to the plaintiffs’ nuisance claims. Rather, the case is

grounded entirely in Connecticut standing law and an idiosyncratic view of

“remoteness” that is directly at odds with this Court’s ruling denying Defendants’ motion

to dismiss in the Summit County case. The decision is being appealed. See, e.g., City of

Bridgeport v. Purdue Pharma L.P., AC 42503 (Conn. App. Ct.)

       The PEC submits that the City of New Haven case is wrongly decided and that, if

presented with the issue, this Court should and would reach a different conclusion with

respect to Connecticut cases in this MDL. The decision in City of New Haven is based on

the Connecticut trial court’s application of a Connecticut precedent, Ganim v. Smith &

Wesson Corp., 258 Conn. 313, 780 A.2d 98 (2001). But Ganim does not compel the result

the City of New Haven court reached. In Ganim, the Connecticut Supreme Court found
that the City of Bridgeport lacked standing to sue gun manufacturers and sellers because

the City’s injuries were too remote. In reaching this result, the Connecticut Supreme

Court adopted the framework used by the United States Supreme Court in Holmes v. Sec.

Inv’r Prot. Corp., 503 U.S. 258 (1992) for assessing the remoteness of a plaintiff’s claim.

Although the Ganim court’s prescription of the Holmes factors as a prerequisite for


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   As discussed above, a trial court in Delaware also dismissed an opioid nuisance claim See State
ex rel. Jennings v. Purdue Pharma L.P., No. N18C-01-223 MMJ CCLD, 2019 WL 446382, at
*12-13 (Del. Super. Ct. Feb. 4, 2019). As noted above, however, no plaintiff in this MDL is located
in Delaware.

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standing in Connecticut is binding, its particular application of those factors to the gun

case in Ganim does not require the same result in claims arising from the opioid epidemic.

As the Ganim court itself recognized, “the question of remoteness must be determined on

a case-by-case basis.” 258 Conn. at 361 n.14.     The issue here, then, is how those factors

apply in the context of the claims in the opioid litigation.

       This Court has already ruled on that question: in its ruling denying the motions

to dismiss in the Summit County case, this Court applied the Holmes analysis to claims

nearly identical to those asserted in the City of New Haven case, but came to the opposite

conclusion. See Op. & Order, Doc. 1203 at 7-10. Indeed, this Court held that “none of the

Holmes concerns are implicated in this case.” Id. at 10. Thus, this Court has already found

that proper application of the Holmes analysis favors upholding a municipalities’ claims

arising from the opioid epidemic. This Court’s ruling is fully consistent with Ganim in

that it applies the Holmes factors to test the plaintiff’s standing, and more properly

assesses those factors to reach the conclusion that the claims asserted by municipalities

arising from the opioid epidemic are not too remote to proceed.

       Other factors further demonstrate that the City of New Haven case is wrongly

decided. First, since Ganim, the Connecticut Supreme Court has fundamentally altered

notions of proximate cause and remoteness under Connecticut law. See Sullivan v. Metro-
N. Commuter R. Co., 292 Conn. 150, 167, 971 A.2d 676, 686-87 (2009) (abolishing the

doctrine of superseding cause with respect to subsequent negligent acts); see also Ruiz v.

Victory Props., LLC, 315 Conn. 320, 346, 107 A.3d 381, 298 (2015) (recognizing that

intervening acts do not break the causal chain where it is foreseeable that “the direct cause

of the harm might, not improbably but in the natural and ordinary course of things,

follow [the original] act of negligence”); Doe v. Saint Francis Hosp. & Med. Ctr., 309 Conn.

146, 179, 72 A.3d 929, 950 (2013) (an “actor, as a reasonable man, is required to anticipate

and guard against the intentional, or even criminal, misconduct of others. In general,
these situations arise where … the actor's own affirmative act has created or exposed the
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other to a recognizable high degree of risk of harm through such misconduct”). The trial

court in City of New Haven failed to take account of these more recent rulings and the

extent to which they affect the Holmes analysis.

       Second, the decision in City of New Haven is grounded throughout in the trial

court’s belief that the issues presented by the opioid epidemic are non-justiciable and

beyond the competence of the Court. See, e.g., 2019 WL 423990, at *1-2, 8. This Court,

again, has reached a different conclusion on this subject in these cases. For this reason,

as well, the PEC believes that nuisance claims on behalf of Connecticut municipalities are

viable in these MDL proceedings.

       In New Jersey, the trial court dismissed the State’s public nuisance claim on the

ground that it was a “product liability action” subsumed by the state’s Product Liability

Act. See Grewal v. Purdue Pharma L.P., No. ESX-C-245-17, 2018 WL 4829660, at *16-18 (N.J.

Super. Ch. Div. Oct. 02, 2018). The court permitted the remainder of the State’s claims to

proceed. Id. at *23-24. Plaintiffs believe that the nuisance issue was wrongly decided in

Grewal. As this Court recognized in its reliance on the Ohio Beretta decision in ruling on

the Summit motions to dismiss, the facts of this case are far more analogous to the

handgun cases, which New Jersey courts had held not to be subsumed by the state

Product Liability Act, see Camden Cty. Bd. Of Chosen Freeholders v. Beretta U.S.A. Corp., 123
F. Supp. 2d 245, 253 (D.N.J. 2000), aff’d, 273 F.3d 536 (3d Cir. 2001); James v. Arms Tech.,

Inc., 820 A.2d 27, 50 (N.J. App. Div. 2003), than to precedents involving lead paint, on

which the Grewal court relied. Plaintiffs do not assert products liability claims; rather,

they challenge Defendants’ misconduct in their marketing and in their failure to control

the distribution of their drugs.

       Neither the Connecticut decision nor the New Jersey ruling is authoritative, as

both are decisions at the trial court level. See In re Fair Fin. Co., 834 F.3d 651, 671 (when

resolving issues of state law, federal court looks first to final decisions of state’s highest


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court; if there is no decision on point, court looks to intermediate appellate decisions and

then to all relevant data, including jurisprudence from other states).
                                       CONCLUSION
       Based on this review of the law of public nuisance in each of the 48 jurisdictions

with cases currently pending in this MDL, the PEC urges the Court to conclude that there

is a viable basis for proceeding with a public nuisance claim—whether statutory,

common law, or both—in each and every jurisdiction.


                                             Respectfully Submitted,
 Dated: March 1, 2019
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 1st day of March, 2019, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF System. Copies will be served

upon counsel of record by, and may be obtained through, the Court CM/ECF system.


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